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                           UNITED STATES DISTRICT COURT
16                       SOUTHERN DISTRICT OF CALIFORNIA
17
18 LA POSTA BAND OF DIEGUENO                  Case No. 3:20-cv-01552-AJB-MSB
19 MISSION INDIANS OF THE
   LA POSTA RESERVATION,                      JOINT STATUS REPORT AND
20                                            PROPOSED SCHEDULE FOR
21 Plaintiffs,                                FURTHER PROCEEDINGS
22 v.
23
   DONALD J. TRUMP, et al.,
24
25 Defendants.
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27
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 1            In accordance with the Court’s September 30, 2020 Order (ECF No. 31), the parties
 2    hereby submit a joint status report addressing further proceedings in this case.
 3            Plaintiff filed a complaint for injunctive relief on August 11, 2020 (ECF No. 1) and
 4    subsequently filed motions for a temporary restraining order and preliminary injunction
 5    to enjoin Defendants from constructing barriers along the southern border of the United
 6    States in San Diego and Imperial Counties. See ECF Nos. 13, 14. The Court denied
 7    Plaintiff’s motions orally from the bench on August 27, 2020, and then issued a written
 8    memorandum opinion on September 9, 2020. See ECF No. 26.
 9            On September 8, 2020, Plaintiff appealed the Court’s decision to the Ninth Circuit.
10    See ECF No. 25. The parties thereafter jointly moved to stay further proceedings in this
11    Court pending resolution of Plaintiff’s appeal. See ECF No. 30. The Court granted that
12    motion and directed the parties to submit a status report addressing further proceedings
13    within 14 days of the Ninth Circuit’s decision. See ECF No. 31
14            On November 4, 2020, the Ninth Circuit issued an unpublished memorandum
15    affirming this Court’s denial of Plaintiff’s motion for preliminary injunction. See La
16    Posta Band of Diegueno Mission Indians of La Posta Reservation v. Trump, No. 20-
17    55941, 2020 WL 6482173 (9th Cir. Nov. 4, 2020).
18            The parties have recently conferred about further proceedings and Plaintiff
19 intends to proceed with the litigation in this Court. Specifically, Plaintiff intends to
20 file an amended complaint and a renewed motion for a temporary restraining order and
21 preliminary injunction. Depending on further developments and negotiations between
22 the parties, Plaintiff may choose to forgo the motion for temporary restraining
      order/preliminary injunction. The parties have agreed to the following schedule for
23
      briefing Plaintiff’s motion and Defendants’ motion to dismiss the amended complaint:
24
          • November 24, 2020: Plaintiff’s amended complaint;
25
          • November 24, 2020: Plaintiff’s motion for temporary restraining
26          order/preliminary injunction (optional);
27        • December 4, 2020: Defendants’ response to motion for temporary restraining
28          order/preliminary injunction;

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 1        • December 9, 2020: Plaintiff’s reply in support of motion for temporary
 2          restraining order/preliminary injunction;
          • January 25, 2021: Defendants’ motion to dismiss amended complaint;
 3
          • February 16, 2021: Plaintiff’s opposition to motion to dismiss;
 4        • February 26, 2021: Defendants’ reply in support of motion to dismiss.
 5
 6            In the event the Plaintiff chooses not to move for a temporary restraining

 7 order/preliminary injunction, the parties intend to follow the above schedule as it relates to
 8 the amendment of and motion to dismiss the complaint. The parties also agree to stay
 9 discovery and case management obligations pending resolution of Defendants’ motion to
10 dismiss. This stay would apply, without limitation, to the attorney conference required
11 pursuant to Federal Rule of Civil Procedure 26(f); the issuance of a scheduling order
12 pursuant to Rule 16(b); initial disclosure obligations pursuant to Rule 26(a)(1); and all
13 other written, documentary, and oral discovery. The parties reserve their respective rights
14 to seek leave of Court to lift the stay of case management activity and discovery as
15 appropriate.
16       Based on the foregoing, the parties respectfully request that that Court enter the

17    parties’ proposed order governing future proceedings in this case.

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      Joint Status Report                         2                             3:20-cv-01552-AJB-MSB
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1 Dated: November 18, 2020                  Respectfully submitted,
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3
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1                           CERTIFICATE OF JOINT SIGNATURE
2             Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies
3 and Procedures of the United States District Court for the Southern District of
4 California, I certify that the content of this document is acceptable to counsel for the
5 Plaintiffs and that I have obtained authorization from Michelle LaPena to affix her
6 signature to this document.
7
8 DATED: November 18, 2020                    s/ Andrew I. Warden
                                              ANDREW I. WARDEN
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